                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,                   )
           Plaintiff,                       )
                                            )      No. 1:12-cr-84
-v-                                         )
                                            )      HONORABLE PAUL L. MALONEY
MELVIN PIERRE WARD,                         )
           Defendant.                       )
                                            )

                                          OPINION

       This matter is before the Court on Defendant Melvin Pierre Ward’s motion to vacate,

set aside, or correct sentence under 28 U.S.C. § 2255. (ECF No. 271.) On October 19, 2012,

Defendant pled guilty to one count of conspiracy to possess with intent to distribute cocaine.

(ECF No. 112.) Defendant’s motion asserts four grounds which he alleges entitle him to

relief: (1) prosecutorial misconduct and vindictive prosecution, (2) ineffective assistance of

defense counsel, (3) ineffective assistance of appellate counsel, and (4) abuse of discretion at

sentencing. (ECF No. 271.)

       For the reasons discussed below, Defendant’s motion will be denied as meritless.

I.     Background

       On April 10, 2012, a grand jury indicted Defendant, along with three co-conspirators,

on charges of conspiracy to possess with intent to distribute 500 grams or more of cocaine

and possession with intent to distribute cocaine. (ECF No. 29.) On May 10, 2012, a

superseding indictment was filed, adding a fourth co-conspirator and modifying the offense

dates for count one. (ECF No. 49.) On August 9, 2012, a second superseding indictment was
filed, modifying the dates for count one and the amount of cocaine on count two. (ECF No.

107.)

        On October 17, 2012, Defendant entered into a plea agreement with the United

States. (ECF No. 100.) Pursuant to the plea agreement, Defendant pled guilty to count one

of the first superseding indictment, the conspiracy charge, on October 19, 2012. (ECF No.

112.) In exchange, the U.S. Attorney’s Office agreed to dismiss the remaining charges against

Defendant, not oppose Defendant’s motion for a two-level deduction for acceptance of

responsibility, and consider filing a motion for departure or reduction of sentence under

U.S.S.G. § 5k1.1 if Defendant fully cooperated with the government in further drug

investigations. (ECF No. 100 at PageID.189–90.)

        On January 23, 2013, the initial presentence report was prepared for the Court. (ECF

No. 159.) The report calculated Defendant’s base offense level at 34, based on a finding that

Defendant was responsible for trafficking an estimated total of 16 kilograms of cocaine over

the course of the conspiracy.1 (Id. at PageID.401.) The report determined the total drug

quantity based on information presented in proffered statements by Defendant and his co-

conspirators. (Id. at PageID.389–98) Defendant’s total offense level, after enhancements and

deductions,2 was calculated at 37 with a criminal history category of VI. (Id. at PageID.402,

421.) Defendant filed several objections to the initial presentence report, challenging the

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  The report indicated that this calculation was a conservative estimate. (ECF No. 159 at PageID.398.)
Although Defendant participated in the conspiracy from March 2010 until its end on March 20, 2012, the
specific drug quantities trafficked prior to December 2011 could not be determined or corroborated. (Id.)
Accordingly, Defendant was only held responsible for the amount of cocaine trafficked between December
2011 and March 2012: 500 grams biweekly over the course of 16 weeks for a total of 16 kilograms. (Id.)
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  Defendant received a four-level enhancement for his leadership role, a two-level enhancement for
maintaining a premises for drug trafficking, and a three-level reduction for acceptance of responsibility. (ECF
No. 159 at PageID.401–02.)

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proffered statements of his co-conspirators, the total quantity of cocaine attributed to him

based on those statements, his leadership role enhancement, and his enhancement for

maintaining a premises for drug trafficking. (ECF No. 167.) The final presentencing report,

which reduced Defendants four-point leadership role enhancement to a three-point

supervisor role, resulting in a total offense level of 36, was filed on March 18, 2013. (ECF

No. 205.)

       At sentencing, Defendant withdrew his objection to the drug-quantity calculation, and

only argued his objection to the drug-premises enhancement. (ECF No. 240 at PageID.985.)

The Court sustained the objection, reducing Defendant’s final offense level to 34 with a

criminal history category of VI. (Id. at PageID.995.) Defendant’s final sentencing guideline

range was 262 to 327 months. (Id.) The Court sentenced Defendant to a mid-range term of

300 months taking into account Defendant’s extensive criminal history. (Id. at PageID.1006.)

       On April 4, 2013, Defendant filed a notice of appeal to the Sixth Circuit. (ECF No.

217.) The Sixth Circuit dismissed Defendant’s appeal, on the government’s motion, based

on the appellate-waiver clause of his plea agreement. (ECF No. 254.) Defendant filed the

instant motion on December 10, 2014. (ECF No. 271.)

II.    Legal Framework

       To obtain relief under § 2255, a defendant must show: (1) “the sentence was imposed

in violation of the Constitution or laws of the United States,” (2) “the court was without

jurisdiction to impose such sentence,” or (3) “the sentence was in excess of the maximum

authorized by law or is otherwise subject to collateral attack.” 28 U.S.C. § 2255.



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       As a general rule, claims not raised on direct appeal are procedurally defaulted and

may not be raised on collateral review unless the defendant shows either (1) cause and actual

prejudice, or (2) actual innocence. Massaro v. United States, 538 U.S. 500, 504 (2003). An

ineffective assistance of counsel claim, however, is not subject to the procedural default rule.

Id. at 504. Further, when a defendant fails to raise an objection to sentencings before the

District Court, the defendant forfeits any challenge of the sentence, on those grounds, on

appeal. See United States v. Olano, 507 U.S. 725, 731 (1993) (holding errors not timely

raised before district court are forfeited); United States v. Barajas-Nunez, 91 F.3d 826, 830

(6th Cir. 1996) (“Generally, a failure to object at sentencing forfeits any challenge to the

sentence on appeal.”). “Our trial and appellate procedures are not so unreliable that we may

not afford their completed operation any binding effect beyond the next in a series of endless

postconviction collateral attacks. To the contrary, a final judgment commands respect.”

United States v. Frady, 456 U.S. 152, 164–65 (1982).

       Claims may also be barred by a waiver of collateral attack contained in a plea

agreement. The Sixth Circuit has held that “a defendant’s informed and voluntary waiver of

the right to collaterally attack a conviction and sentence is enforceable.” In re Acosta, 480

F.3d 421, 422 (6th Cir. 2007); see also Watson v. United States, 165 F.3d 486, 489 (6th Cir.

1999) (“Accordingly, we hold that a defendant’s informed and voluntary waiver of the right

to collaterally attack a sentence in a plea agreement bars such relief.”). A collateral attack

waiver, however, does not bar a defendant from bringing any § 2255 motion. Watson, 165

F.3d at 489. Even when a plea agreement contains a collateral attack waiver, a defendant may

bring a claim that challenges the validity of the waiver, such as a claim of ineffective assistance

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of counsel or involuntariness of waiver. See id. “[I]t would be entirely circular for the

government to argue that the defendant has waived his right to an appeal or a collateral attack

when the substance of his claim challenges the very validity of the waiver itself.” Acosta, 480

F.3d at 422.

III.   Analysis

       As an initial matter, the Court determines that an evidentiary hearing is not necessary.

“[N]o hearing is required if the petitioner’s allegations ‘cannot be accepted as true because

they are contradicted by the record, inherently incredible, or conclusions rather than

statements of fact.’” United States v. Arredondo, 178 F.3d 778, 782 (6th Cir. 1999) (quoting

Engelen v. United States, 68 F.3d 238, 240 (8th Cir. 1995)). As the Court will demonstrate,

each of Defendant’s factual assertions are simply “contradicted by the record” or are

“conclusions rather than statements of fact.” See id. In light of the record and the Court’s

recollection of these proceedings, Defendant has raised no question of fact that necessitates

a hearing.

       A.      Vindictive Prosecution

       Defendant first claims that his Fifth Amendment right to due process of law was

violated by a “vindictive prosecution.” (ECF No. 271 at PageID.1191.) Defendant asserts

that the U.S. Attorney’s Office breached his plea agreement because he pled guilty to “500

grams but less than 2 kilograms of cocaine,” but was held responsible for 16 kilograms at

sentencing, and that the alleged breach amounted to prosecutorial misconduct and vindictive

prosecution. Defendant’s first claim fails on several grounds.



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       First, Defendant failed to raise his vindictive prosecution claim at any point prior to

filing the instant motion. Defendant made no mention of a claim of vindictive prosecution

at sentencing and even withdrew his objection to the quantity of cocaine he was held

responsible for, which is now the primary basis for the vindictive prosecution claim.

Accordingly, Defendant’s claim is procedurally defaulted. “[T]o obtain collateral relief based

on trial errors to which no contemporaneous objection was made, a convicted defendant

must show both (1) ‘cause’ excusing his double procedural default, and (2) ‘actual prejudice’

resulting from the errors of which he complains.” Frady, 456 U.S. at 167–68. Defendant has

made no showing of cause or actual prejudice and merely advances unsupported assertions

that his plea agreement was violated and the violation amounted to vindictive prosecution.

       Second, Defendant waived his right to collaterally attack his sentence in his plea

agreement. (ECF No. 100 at PageID.193.) As such, since this claim does not attack the

validity of the waiver, it is barred by the waiver.

        Finally, even assuming this claim was not procedurally defaulted or waived, it lacks

any merit. Defendant has failed to establish any of the elements for a claim of vindictive

prosecution.

       In United States v. Suarez, the Sixth Circuit established that in order to successfully

assert vindictive prosecution a defendant must show: “(1) exercise of a protected right; (2) a

prosecutorial stake in the exercise of that right; (3) unreasonableness of the prosecutor’s

conduct; [and] (4) the intent to punish the defendant for exercise of the protected right.” 263

F.3d 468, 479 (6th Cir. 2001). When “the first three elements are present,” a rebuttable



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presumption attaches to the fourth. Id. The burden, however, first falls on a defendant to

establish a “realistic likelihood of vindictiveness.” See id.

       Defendant fails out of the gate with respect to the first two elements. First, Defendant

fails to allege that he exercised any protected right or that the U.S. Attorney’s Office had any

stake in the assertion of a protected right. (ECF No. 271–272.) Second, while Defendant’s

motion baldly alleges unreasonable prosecutorial conduct, the facts alleged are utterly

unsupported by the record.

       Moving to the third element, Defendant alleges the prosecutor unreasonably

breached the plea agreement because he pled guilty to trafficking between 500 grams and

two kilograms of cocaine but was sentenced based on 16 kilograms. (ECF No. 271 at

PageID.1191.) Defendant, however, conflates the statutory threshold for conviction, 500

grams or more, and the drug quantity threshold used in determining the base offense level

under the Sentencing Guidelines. Defendant’s plea agreement contains no promises as to

the amount of cocaine that Defendant would be held responsible for at sentencing.

Defendant pled guilty to 500 grams or more not to “500 grams but less than 2 kilograms,” as

he asserts. (ECF No. 100, 271.) The 500 grams serve as a statutory minimum that must be

met for conviction, but Defendant could have been held responsible for any amount of

cocaine over 500 grams for the purposes of sentencing. See, e.g., United States v. Denaro,

90 F. App’x 555, 558 (4th Cir. 2004) (citing United States v. Perez-Ruiz, 353 F.3d 1, 15 (1st

Cir. 2003)) (“[W]hen an indictment alleges a drug quantity of ‘at least’ a specified amount,

the sentencing court is free to attribute whatever drug quantity the evidence warrants to a



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defendant as long as the defendant’s sentence does not exceed the applicable statutory

maximum sentence.”).

       In sum, Defendant procedurally defaulted and waived his first claim, but even if he

did not, the claim lacks any merit.

       B.     Ineffective Assistance Counsel

       Defendant next claims that his attorneys, both defense and appellate, provided

ineffective assistance of counsel in violation of the Sixth Amendment’s guarantee to effective

assistance of counsel. U.S. CONST. amend. VI. The standard for ineffective assistance of

counsel, as established in Strickland v. Washington, requires a defendant to prove (1) that

defense counsel’s performance fell below an objective standard of reasonableness, and (2)

there is a reasonable probability that, but for the unprofessional errors, the outcome of the

proceedings would have been different. 466 U.S. 668, 694 (1984). Either prong may be

addressed first, and the failure to demonstrate prejudice obviates the need for the Court to

address the counsel performance prong, and vice versa. Id. at 697. The burden is on the

defendant to prove that his counsel provided ineffective assistance by a preponderance of

the evidence. Pough v. United States, 442 F.3d 959, 964 (6th Cir. 2006).

       When considering whether counsel’s performance fell below an objective standard of

reasonableness, courts must “apply a ‘strong presumption’ that counsel’s representation was

within the ‘wide range’ of reasonable professional assistance.” Premo v. Moore, 562 U.S.

115, 122 (2011) (citing Strickland, 466 U.S. at 688). The defendant has the burden to show

that counsel’s errors were “so serious that counsel was not functioning as the ‘counsel’

guaranteed by the Sixth Amendment.” Id.

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       To establish ineffective assistance, the defendant must show that his counsel’s

representation was incompetent under prevailing professional norms, not merely that it

deviated from best practices or common custom, and that the conduct was not sound trial

strategy. Strickland, 466 U.S. at 690. Courts must be highly deferential and consider the

circumstances of the attorney’s conduct at the time of the performance, not with the benefit

of hindsight. Id. at 689. It is especially difficult to challenge strategic decisions made after a

thorough investigation of the relevant law and facts; such decisions are “virtually

unchallengeable.” Rayborn v. United States, 489 F. App’x 871 (6th Cir. 2012) (citing

Strickland, 466 U.S. at 690). Defendants cannot compel their attorneys to assert even non-

frivolous arguments if counsel decides not to press those points as a matter of professional

judgment. Jones v. Barnes, 463 U.S. 745, 751 (1983).

               1.     Ineffective Assistance of Trial Counsel

       Defendant first asserts that he suffered from ineffective assistance of counsel because

his defense attorney “denied and deprived to preserve and protect defendant’s plea

agreement . . . .” (ECF No. 271 at PageID1192.) Defendant’s argument, however, is

incoherent and presents no factual basis for his claim. Defendant’s attorney did not fail to

protect his plea agreement as the plea agreement was never violated. See supra Part III.A.

His attorney made every good faith effort to minimize Defendant’s sentence that could be

raised at the time. Indeed, counsel scored a rare victory at sentencing by successfully arguing

that Defendant’s two-level enhancement for maintaining a premises for drug trafficking was

inappropriate. (See ECF No. 240 at PageID.995.) Defendant’s counsel withdrew the

objection related to quantity at sentencing, but there were ample reasons to do so. For

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example, cooperators and co-defendants generally had established the higher quantity and

Defendant himself admitted in proffers to trafficking nearly as much as cooperators said he

had. In addition, it is well within common strategy to focus on stronger objections and

withdraw meritless objections at sentencing. (See ECF No. 287 at PageID.1289–92.)

       In sum, Defendant has unreservedly failed to establish that his defense attorney’s

conduct deviated from the “wide range of reasonable professional assistance.” Premo, 562

U.S. at 122. Accordingly, Defendants second claim fails.

              2.     Ineffective Assistance of Appellate Counsel

       Defendant next claims that he suffered from ineffective assistance of appellate

counsel. (ECF No. 271 at PageID1193.) Defendant’s third claim is essentially the same as

his second, and is equally devoid of any factual support. Defendant asserts that his appellate

counsel hindered his ability to directly appeal his sentence by not protecting him from

“intrusion and/or invasion of his plea agreement . . . .” (Id.) As stated above, however,

Defendant’s plea agreement was never violated and could not have been protected from

“intrusion and/or invasion” because it was never subject to any intrusion or invasion. See

supra Part III.A. “Counsel’s failure to raise an issue on appeal could only be ineffective

assistance if there is a reasonable probability that inclusion of the issue would have changed

the result of the appeal.” McFarland v. Yukins, 356 F.3d 688, 699 (6th Cir. 2004.) Here, it

can be fairly said that Defendant’s issue had no probability of success on appeal.

       Therefore, Defendant’s third claim fails.




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       C.     Abuse of Discretion

       Last, Defendant claims that the Court abused its discretion to enhance his sentence.

(Id.) However, Defendant has not presented any cognizable constitutional claim against the

sentence imposed. Despite asserting that the Court violated his “[c]onstitutional,

[f]undamental and [s]ubstantial rights,” (ECF No. 272 at PageID1219), Defendant presents

no basis to support his claim that the Court erred. The Court imposed a guideline sentence

in the middle of the guideline range; the sentence was not above the statutory maximum of

life imprisonment; the Court did not take into account any unconstitutional factors when

sentencing Defendant. (ECF No. 240.) Defendant merely advances empty legal conclusions

that his rights were violated without any factual support. Further, if Defendant is attempting

to argue that the Court committed a guideline error, that claim also fails. Outside of

extraordinary circumstances, claims of nonconstitutional error in sentencing cannot be raised

in a § 2255 motion. See Hawkins v. United States, 706 F.3d 820, 823–24 (7th Cir. 2013).

       Therefore, Defendant’s fourth claim fails.

IV.    Conclusion

       In short, Defendant presents incoherent arguments that amount to nothing more than

blanket assertions that his rights were violated with no factual backing.




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                              CERTIFICATE OF APPEALABILITY

       Under Rule 11 of the Rules Governing Section 2255 Proceedings, a court must issue

or deny a certificate of appealability when it enters a final order adverse to the applicant. A

court may issue a certificate of appealability “only if the applicant has made a substantial

showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2); see Miller-El v.

Cockrell, 537 U.S. 322, 337 (2003). To satisfy this standard, the petitioner must show that

“reasonable jurists could debate whether (or, for that matter, agree that) the petition should

have been resolved in a different manner or that the issues presented were ‘adequate to

deserve encouragement to proceed further.’” Id. (quoting Slack v. McDaniel, 529 U.S. 473,

483 (2000)). Courts should undertake an individualized determination of each claim

presented by the petitioner when considering whether to issue a certificate of appealability.

Murphy v. Ohio, 551 F.3d 485, 492 (6th Cir. 2009).

       A certificate of appealability is not appropriate in case because reasonable jurists could

not debate that each of Defendant’s claims should have been resolved in a different manner

or are adequate to deserve further deliberation. Defendant’s vindictive prosecution claim is

procedurally defaulted, waived, and utterly lacks merit; Defendant’s ineffective assistance

claims utterly lack merit; and Defendant’s claim that the Court abused its discretion at

sentencing is procedurally defaulted, waived, and utterly lacks merit.




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                                       ORDER

      For the reasons stated in the accompanying Opinion, Defendant’s motion to vacate,

set aside, or correct sentence under 28 U.S.C. § 2255 is DENIED. (ECF No. 271.)

      IT IS SO ORDERED.

Date: June 30, 2017                                    /s/ Paul L. Maloney
                                                     Paul L. Maloney
                                                     United States District Judge




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